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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01636-WJM-MJW

  DIGITALGLOBE, INC., a Delaware corporation,

  Plaintiff,

  v.

  LOU PALADINO, an individual,

  Defendant.

                                    MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that Defendant’s Motion for Order Restricting Access to
  Defendant’s Response to Questions Posed by the Court’s August 31, 2017 Order
  (Docket No. 50) is GRANTED finding the subject motion meets the requirements as
  outlined in D.C.COLO.LCivR 7.2(c). The Clerk of the Court is directed to place Docket
  Nos. 45, 45-1, 45-2, 45-3, 45-4, and 45-5 under Level 1 Restriction.

  Date: September 26, 2017
